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 1                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 2

 3   UNITED STATES OF AMERICA,                     )
                                                   )   Case No.: 2:19-cr-00173-JAD-EJY
 4                 Plaintiff,                      )
                                                   )   ORDER TO CONTINUE
                                                   )   DEFENDANT’S SENTENCING
 5         vs.                                     )   HEARING
                                                   )
 6   DERRICK BOWMAN,                               )       ECF No. 41
                                                   )
 7                 Defendant.                      )
                                                   )
                                                   )
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           Based on the stipulation of counsel, the Court finds that good cause exists to continue
10
     Defendant’s Sentencing Hearing date currently set for January 4, 2021 at 2:30 P.M., to
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     March 8, 2021, at 1:30 p.m.
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           DATED this 30th day of December, 2020.
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                                               __________________________________
                                               UNITED STATES DISTRICT JUDGE
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